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                              EXHIBIT 
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           of State                                                                          Filed in the Office of the
       Box 13697                                                                          Secretary of State of Texas
         TX 78711-3697                                                                Filing #: 804258615 10/04/2021
       512/463-5709
                                                                                        Document#: 1083892660002
                                           Certificate of Formation                  Image Generated Electronically
                                          Limited Liability Company                                     for Web Filing


                                              Article 1 - Entity Name and Type
      filing entity being formed is a limited liability company. The name of the entity is:

    NJAY TECHNOLOGY PARTNERS LLC
                                     Article 2 - Registered Agent and Registered Office
       The initial registered agent is an organization (cannot be company named above) by the name of:


                                                              OR
[P'is. The initial registered agent is an individual resident of the state whose name is set forth below:
l~~~e~AK        SHARMA
[C.The business address of the registered agent and the registered office address is:
    treet Address:
104 EAST HOUSTON STREET
SUITE 180 MARSHALL TX 75670
I                                              Consent of Registered Agent
l□A. A copy of the consent of registered agent is attached .
                                                              OR
IP'!B. The consent of the registered agent is maintained by the entity.
                                              Article 3 - Governing Authority
lr !A. The limited liability company is to be managed by managers.
                                                          OR
IRJ B. The limited liability company will not have managers. Management of the company is reserved to the members.
The names and addresses of the governing persons are set forth below:
                       ANJAY VENTURE PARTNERS LLC
!Managing Member 1 (Business Name)

 ddress 22836 POPLAR GROVE SQ  CUPERTINO CA, USA 95014
                                                     Article 4 - Purpose
-he-purpose
     - - -for-which
               - -the-company
                       - - - is-organized
                                 ----     is for the transaction of any and all lawful business for which limited
liability companies may be organized under the Texas Business Organizations Code .




                                          Supplemental Provisions/ Information
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[The attached addendum, if any, is incorporated herein by reference.]




                                                                   Organizer
!The name and address of the organizer are set forth below.
!LOVETTE DOBSON                          17350 STATE HWY 249 #220 HOUSTON TX 77064
                                                         Effectiveness of Filing
jR'! A. This document becomes effective when the document is filed by the secretary of state.
                                                                        OR
!·l· ·7
      .· ·. •·•.i.-B
                   .. . This document becomes effective at a later date, which is not more than ninety (90) days from the date of its
!signing . The delayed effective date is:
I                                                                 Execution
  he undersigned affirms that the person designated as registered agent has consented to the appointment. The
undersigned signs this document subject to the penalties imposed by law for the submission of a materially false or
 raudulent instrument and certifies under penalty of perjury that the undersigned is authorized under the provisions of
law governing the entity to execute the filing instrument.
!LOVETTE DOBSON
!Signature of Organizer

    FILING OFFICE COPY
